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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           *
                                                   *
        v.                                         *       CASE NO: 1:21-cr-0447-1 (CJN)
                                                   *
JONATHAN POLLOCK,                                  *
         Defendant                                 *


                                               ********


               JONATHAN POLLOCK’S MOTION TO TRANSFER VENUE

        Jonathan Pollock, by his undersigned counsel, hereby respectfully moves this Honorable Court

for a transfer of venue to afford him a fair trial judged by an impartial jury who do not feel personally

aggrieved and do not harbor significant prejudice against persons who participated in the political

demonstrations on January 6, 2021. The motion is filed to preserve the rights guaranteed to him by

the Fifth and Sixth Amendments to the United States Constitution and pursuant to Rule 21(a) of the

Federal Rules of Criminal Procedure.

I.      The Law

        A criminal trial ordinarily should take place in the district where the offense was committed.

U.S. Const. amend. VI.

                England, from whom the Western World has largely taken its
                concepts of individual liberty and of the dignity and worth of every
                man, has bequeathed to us safeguards for their preservation, the most
                priceless of which is that of trial by jury. This right has become as
                much American as it was once the most English. . . . In essence, the
                right to jury trial guarantees to the criminally accused a fair trial by a
                panel of impartial, ‘indifferent’ jurors. The failure to accord an
                accused a fair hearing violates even the minimal standards of due
                process. ‘A fair trial in a fair tribunal is a basic requirement of due
                process.’ In the ultimate analysis, only the jury can strip a man of his
                liberty or his life. In the language of Lord Coke, a juror must be as
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                ‘indifferent as he stands unsworne.’ His verdict must be based upon
                the evidence developed at the trial. This is true, regardless of the
                heinousness of the crime charged, the apparent guilt of the offender
                or the station in life which he occupies. It was so written into our law
                as early as 1807 by Chief Justice Marshall in 1 Burr's Trial 416(1807).
                ‘The theory of the law is that a juror who has formed an opinion
                cannot be impartial.’

Irvin v. Dowd, 366 U.S. 717, 721-22 (1961) (internal citations omitted).

        While jurors need not be “totally ignorant of the facts and issues involved,” trial by jurors

“having a fixed, preconceived opinion of the accused’s guilt would be a denial of due process.” Irvin

v. Dowd, 366 U.S. at 724. Moreover, the American justice system “has always endeavored to

prevent even the probability of unfairness.” In re Murchison, 349 U.S. 133, 136 (1955) (Black, J.).

        If extraordinary local prejudice will prevent the defendant from obtaining a fair trial in the

district of the offense, then due process requires transferring the trial to another appropriate

alternative venue. Skilling v. United States, 130 S. Ct. 2896 (2010). For these situations, the Federal

Rules of Criminal Procedure provide a mechanism to enable a defendant to seek a change of venue

if (a) the atmosphere is so prejudicial the defendant cannot obtain a fair and impartial trial within the

district in which the action is brought or (b) for the convenience of the parties and witnesses, if in the

interest of justice.1 The purpose of the rule is to secure a fair trial to the defendant when

circumstances in the district where the action is brought would place an undue risk of unfairness upon

the defendant if tried within that district. Sheppard v. Maxwell, 384 U.S. 333 (1965).




        1
          “Upon the defendant's motion, the court must transfer the proceeding against that defendant
to another district if the court is satisfied that so great a prejudice against the defendant exists in the
transferring district that the defendant cannot obtain a fair and impartial trial there.” Fed. R. Crim.
Proc. 21(a).

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        Factors to be considered in whether to grant a change of venue based upon prejudicial pretrial

publicity are the size and characteristics of the community, the nature and extent of pretrial publicity,

the proximity between the publicity and the trial, and evidence of juror partiality. United States v.

Skilling, 561 U.S. 358, 378-381 (2010). In some cases, a potential jury pool can be determined to

be irredeemably biased when the alleged crime results in “effects . . . on [a] community [that] are so

profound and pervasive that no detailed discussion of the [pretrial publicity and juror partiality]

evidence is necessary.” United States v. McVeigh, 918 F. Supp. 1467, 1470 (W.D. Okla. 1996)

(summarily finding that a trial of Oklahoma City bombing suspects in federal court in Oklahoma City

would be constitutionally unfair).

II.     Factual Background

        What jury selection in January 6 cases has shown is that too many in the DC jury pool have

“a fixed, preconceived opinion” that January 6 defendants are guilty.

                In a poll of D.C. residents conducted by the federal public defender’s
                office cited by Webster, 71 percent said that from what they had
                heard, those arrested for involvement in the Capitol riot were guilty
                of the charges brought against them.
                ...
                Another [juror] said she felt unsafe during the Trump presidency as a
                Black woman.
                ...
                I don’t have a high opinion of former president Donald Trump, and by
                extension, I don’t think his supporters are particularly smart for
                supporting him,” the third said.2

        Jury questionnaires reviewed by undersigned counsel have shown that a majority of the

members of the jury pool have expressed bias against January 6 defendants including often describing



        2
           D.C. Circuit considers claim of Jan. 6 jury bias ahead of Trump trial (Wash Post 2/6/24)
at https://tinyurl.com/4emwt5d5

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them as “traitors” “bigots” “white supremacists” among other negative opinions.3 In counsel’s

experience, DC juries express much less bias even in cases where murder, violent gang racketeering

conspiracies and members of foreign drug cartels are charged.

       Many jurors have also expressed that they were personally impacted by the January 6 events.

The Washington Post is replete with stories of DC residents expressing continued fear and

resentment.

               What hasn’t disappeared for residents and workers in the Capitol Hill
               neighborhood are the memories of that dark day when democracy felt
               in the balance. As the anniversary of the attack approaches, the fallout
               continues to be felt. For the rest of the country, the Capitol attack was
               a national political crisis.

               For those living and working on Capitol Hill, it was also deeply
               personal. The Capitol lawn was their backyard. They walked their
               dogs on the same blocks, shopped at Eastern Market, bought
               Christmas trees from the local Boy Scout troop, drank beers together
               at the Hawk 'n' Dove and wolfed down breakfast at Jimmy T’s. The
               mob that invaded the Capitol — breaking windows, vandalizing
               offices, destroying statues and viciously attacking and injuring 140
               U.S. Capitol and District police officers — had also invaded their
               lives.”4

       DC Jurors more than most Americans continue to be bombarded with news about January 6

in the “local” paper, the Washington Post and local stations such as WUSA-9, which cover every

verdict and sentence imposed in January 6 cases. Most jurors have followed Congressional hearings

and other media attention. Indeed, in the 2020 presidential election more than 90% of DC residents

voted for President Biden and against then-President Trump.


       3
                These opinions were expressed by jurors in cases in which undersigned counsel was
involved including 21-cr-28; 21-cr-631; and 21-cr-175.
       4
        As Jan. 6 anniversary approaches, fear, disbelief and anger still felt in Capitol Hill
neighborhood, (Wash Post, Jan. 4, 2022) at https://tinyurl.com/2e7vzz8z

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          Empirical evidence also shows that only a handful of the hundreds of January 6 defendants

have been acquitted by DC juries. This applies even to cases involving non-violent misdemeanor

offenses. Indeed, more January 6 defendants have been acquitted in bench trials than by DC juries,

which is a complete skewing of ordinary judge-jury determinations.5

          While courts have qualified jurors in this district this has generally only been possible by

‘rehabilitating’ jurors who have expressed inability to be fair but upon further questioning by the

Court have assented to the notion that they will follow the Court’s instructions.

III.      Continued Prejudicial Pretrial Publicity

          The renewed intense media attention on January 6 has resurfaced as the presidential election

nears. Indeed, former Chief Judge Thomas Hogan during a presentation at Georgetown University

recently opined that the selection of an impartial jury in January 6 cases has become more difficult

because of the number of cases that are continuing to be tried and because we are now in the political

season.

          As well, Special Counsel Smith has filed a lengthy memorandum describing in detail the

charges that he has filed against former President Trump.

                  A nearly 200-page special counsel filing of facts and legal argument
                  on why Donald Trump can be criminally prosecuted for his efforts to
                  overturn the results of the 2020 election landed Thursday in D.C.
                  federal court, triggering a process that could end in the public seeing
                  significant new details of the case before the November election.

                  The massive brief on special counsel Jack Smith’s case against the
                  former president — which could run up to 180 pages, plus more in
                  exhibits — was filed under seal, per the court’s order, a spokesman
                  for Smith’s office said. It will remain that way until U.S. District


          5
          Even in bench trials the number of acquittals is minimal and much less than the number of
acquittals in non-January 6 cases.

                                                    5
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                Judge Tanya S. Chutkan decides what she wants to do with a redacted
                version, which prosecutors also planned to file under seal with the
                expectation that it will later be released publicly.6


        A.      Proximity of Prejudicial Publicity to Trial

        In Skilling v United States, 561 U.S. 358 (2010), the Supreme Court recognized the

significance of prejudicial pretrial publicity that occurs in close proximity to the trial. Skilling, 561

U.S. at 383. Skilling distinguished Rideau v. Louisiana, 373 U.S. 723, 727 (1963) where the Court

reversed a conviction based on prejudicial pretrial publicity from the situation in Skilling because by

the time the trial took place four year later “the decibel level of media attention diminished somewhat

in the years following Enron's collapse.” Skilling, 130 S. Ct. at 2902. Here, the continuing pretrial

publicity as well as the Trump presidential campaign and his prosecution in this district will have a

pronounced effect in close proximity to the October 15 trial. The close proximity of the prejudicial

publicity must be attributed at least in part to the government’s decision to proceed with the

prosecution against former President Trump during the election cycle.

        The ongoing negative publicity creates presumed prejudice for defendants. In fact, Mr.

Pollock respectfully submits that requiring him to go to trial in the District in the shadow of the

Special Counsel prosecution during this election cycle would be highly prejudicial. The First Circuit,

for example, addressed the prejudicial effect of an analogous situation – contemporaneous

congressional hearings in Delaney v. United States, 199 F.2d 107 (1st Cir. 1952). In Delaney, the

trial judge refused to grant a lengthy defense continuance request, which was based upon ongoing

congressional hearings into the “scandal” involving the defendant. Id. at 114. The First Circuit ruled


        6
          Jack Smith lays out Jan. 6 case against Trump. Will filing be public? (Wash Post, 9/26/24)
at https://tinyurl.com/2hh8cv2d

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that the trial judge abused his discretion in not granting the continuance, noting that the actions of

Congress in generating adverse publicity were equivalent to prosecutors doing the same:

               [B]eing brought to trial in the hostile atmosphere engendered by all
               this pre-trial publicity, would obviously be as great, whether such
               publicity were generated by the prosecuting officials or by a
               congressional committee hearing. In either case he would be put
               under a heavy handicap in establishing his innocence at the impending
               trial. Hence, so far as our present problem is concerned, we perceive
               no difference between prejudicial publicity instigated by the United
               States through its executive arm and prejudicial publicityinstigated by
               the United States through its legislative arm.

Id.

       The DC Circuit addressed a similar issue during the Watergate investigation. Former Nixon

official Robert Ehrlichman sought a continuance of his trial date based upon the Senate

Watergate hearings, which was denied by the trial judge. Upholding the trial court’s ruling,

the Court of Appeals distinguished Delaney on the grounds that the Ehrlichman was a full year

in the rear-view mirror:

               Similarly, a continuance in the circumstances at bar is not required by
               Delaney v. United States, 199 F.2d 107 (1st Cir. 1952), where
               legislative hearings were held concerning the criminal activity
               to be tried. In this case, unlike Delaney, the Senate Watergate
               hearings occurred almost a year before the trial commenced and
               the defendants were not under indictment at the time of the
               hearings.

United States v. Ehrlichman, 546 F.2d 910, 916, n. 8 (D.C. Cir. 1976).

       Here, the non-stop prejudicial publicity requires the Court to transfer venue to a

federal district that is not as impacted by the negative prejudicial effect. The instant case is

far worse than Delaney and Ehrlichman. The TV Show Sixty Minutes just last week had


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segment on the events of January 6, with not a single opinion from a defense counsel or other

person who could refute the arguments that those involved were guilty of an unprecedented

attack on democracy.

                                          Conclusion

       Accordingly, for the reasons stated above, a transfer of venue outside of the District of

Columbia is necessary to afford Mr. Pollock a fair trial as guaranteed to him by the Due Process

clause and the Fifth and Sixth Amendment to the United States Constitution.

                                                   Respectfully submitted,

                                                   /s/

                                                   Carmen D. Hernandez
                                                   Bar No. MD03366
                                                   7166 Mink Hollow Road
                                                   Highland, MD 20777
                                                   (240) 472-3391



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served via ECF on all counsel of
record this 1st day of October, 2024.

                                                   /s/ Carmen D. Hernandez
                                                   Carmen D. Hernandez




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